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17
                            UNITED STATES DISTRICT COURT
18
                          CENTRAL DISTRICT OF CALIFORNIA
19
                                       WESTERN DIVISION
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21   SHANGHAI LAN CAl ASSET                                    2:18-cv-10255
                                                Civil Case No. _  _ _ _ __
22   MANAGEMENT CO, LTD.,
                                                FIRST DECLARATION OF JIAN
23                       Petitioner,            KANG IN SUPPORT OF PETITION
24                                              TO CONFIRM ARBITRATION
     v.                                         AWARD
25
26   JIA YVETING,

27                       Res on dent.
28
          FIRST KANG DECLARATION IN SUPPORT OF PETITION TO CONFIRM ARBITRATION AWARD
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            I, Jian Kang, hereby declare under penalty of perjury under the laws of the
 2   United States of America that the following is true and correct:
 3          1.      I am over the age of 18 and am competent to give this Declaration.

 4
            2.      All statements set forth in this Declaration are based on my personal
 5   knowledge or my review of original versions or certified copies of the relevant
 6 documents. I make this declaration in support of the Petition to Confirm
 7   Arbitration Award filed by Shanghai Lan Cai Asset Management Co, Ltd.
 8   (" SLC").

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            3.      I am a Hong Kong-licensed solicitor at the law firm Kobre & Kim. I
10   have been employed by Kobre & Kim since 2014, and I have been qualified to

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     practice law in Hong Kong since 2013. Kobre & Kim acts as counsel to SLC for
12   purposes of enforcing the arbitration award (the "Final Award") that is the subject

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     of SLC's Petition. A duly certified true and correct copy of the Final Award,
14   together with a certified English translation, is attached as Exhibit 1 to this
15   Declaration.

16          4.      The Final Award arose out of an arbitration proceeding (the
17   "Arbitration") between SLC (a corporation organized under the laws of the
18   People's Republic of China, with its principal place of business in Shanghai)
19   Respondent Jia Yueting (a Chinese citizen who lives in California), and two
20   corporations organized under the laws of the People's Republic of China, LeTV
21   Sports Culture Develop (Beijing) Co. , Limited ("LeTV") and TV Plus Holdings
22   (Beijing) Limited ("TV Plus" and, together with Jia and LeTV, the "Arbitration
23   Respondents"). The Arbitration was held before the Beijing Arbitration
24   Commission and proceeded according to the Commission ' s arbitration rules. (Ex.

25   1 at I.)

26          5.      The Arbitration resolved a dispute between SLC and the Arbitration
27   Respondents over the Arbitration Respondents' failure to perform their obligations
28   under two agreements. The first agreement (the "Loan Contract") set forth the

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     terms under which SLC would lend money in the amount of¥50 million for a term
 2   of 12 months. (Ex. 2 art. 1- 2(1I).) A duly certified true and correct copy of the
 3   Loan Contract, together with a certified English translation, is attached as Exhibit
 4   ~   to this Declaration. The second agreement (the "Guarantee") provided that TV
 5   Plus and Jia would be jointly and severally liable should LeTV default on its
 6   obligations under the Loan Contract. (Ex. 3 at 1.) A duly certified true and correct
 7   copy of the Guarantee, together with a certified English translation, is attached as
 8   Exhibit 3 to this Declaration. Both agreements were executed on December 1,
 9 2016, and SLC disbursed the loan funds to LeTV's nominated recipient on
10   December 2, 2016. (Ex. 1 at 16.)

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             6.    Among other things, the Loan Contract provided that " [a]ny dispute
12   arising from the performance of the Contract may be resolved through

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     consultation, failing which either Party may bring such dispute for arbitration by
14   the Beijing Arbitration Commission." (Ex. 2 art. l3(1I).) Similarly, the Guarantee
15   provided that "[a]ny dispute arising from or in connection with this Agreement
16   shall be settled through negotiation by the parties hereto, failing which, shall be
17   submitted to Beijing Arbitration Commission for arbitration in accordance with the
18   prevailing rules of arbitration of such commission." (Ex. 3 art. 11.3 .) The
19   Guarantee further provided that "[t]he arbitration award shall be final, binding
20   upon each party." (Id.)

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             7.    When LeTV failed to make an interest payment due on June 15, 2017 ,

22   SLC referred the dispute to the Beijing Arbitration Commission, consistent with
23   the terms of the Loan Contract and the Guarantee. The Beijing Arbitration
24   Commission accepted SLC's request for arbitration on June 28, 2017. (Ex. I at 1.)

25           8.    Under the rules of the Beijing Arbitration Commission, the
26   Commission's director appointed a Tribunal of three arbitrators to preside over the
27   Arbitration. Mr. Wu Shengchun, a senior economist specializing in guaranty law,
28   loan contracts, and international finance, acted as chief arbitrator. Ms. Kang Le, an
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     arbitrator specializing in investment and financing disputes, and Mr. Han Xu, an
 2   arbitrator specializing in finance, loan contracts, and the law of corporations,
 3   completed the Tribunal. (Ex. I at 1.)

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            9.    On January 22, 2018, following the submission of evidence by all
 5   parties and the presentation of legal arguments at a hearing held on December I,
 6   2017, the Tribunal issued the Final Award. The Final Award found the Arbitration
 7   Respondents jointly and severally liable for:

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                  • ¥50 million, representing the principal disbursed to LeTV under

 9                   the Loan Contract;

10                • principal interest at an annual rate of 7.5 percent to be calculated

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                     from March 16, 2017;

12                • post-default interest at an annual rate of 16.5 percent to be

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                     calculated from December 3,2017;

14                • ¥507,028, representing SLC's arbitration costs; and

15                • ¥319,7 40, representing arbitration expenses disbursed by SLC to

16                   the Beijing Arbitration Commission.
17   (Ex. 1 at 20- 21.) The Tribunal ordered the Arbitration Respondents to pay these
18   amounts "in full within 10 days from the date of service of this Award."
19   Otherwise, the Arbitration Respondents shall pay 200% of the payable interest (i.e.
20   48 percent per annum) according to the Civil Procedure Law of the PRC. (Id. at
21   21.)

22          10.   As of the date ofthis Declaration, none of the Arbitration
23   Respondents have paid SLC any ofthe damages awarded by the Tribunal. The
24   total interest owed on those amounts is ¥ 25 ,113 ,698.63 ($3 ,650,246.89), and
25   interest continues to accrue at a rate of¥ 65,753.42 ($9,557.18) per day.
26          11.   To my knowledge, none of the Arbitration Respondents have applied
27   to the courts of the People's Republic of China to set aside the Final Award.
28   Chinese law requires that any such application be brought within six months of the
                                             3
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     delivery of the award to the adverse parties. Zhongcai Fa (frp ~¥t ) [Arbitration
 2   Law] art. 59. The Arbitration Respondents ' time for filing an application to set

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     aside the Final Award therefore expired in July 2018.

 4          12.   I declare under penalty of perjury that the foregoing is true and
 5   correct.

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 7          Executed on this loth day of December, 2018 at 6/F, ICBC Tower, 3 Garden
 8   Road, Central, Hong Kong.

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11                                          Jian Kang

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        FIRST KANG DECLARATION IN SUPPORT OF PETITION TO CONFIRM ARBITRATION AWARD
